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                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                           EASTERN DIVISION
-------------------------------------------------------------------X
 DIANA REYNOLDS and SANDRA HIGH,
 individually and on behalf of all others similarly                  Case No. 17-cv-00170
 situated,

                                    Plaintiffs,                        Hon. John J. Tharp, Jr.
                                                                       Magistrate Judge Young B. Kim
                  v.

 CHW GROUP, INC., d/b/a Choice Home
 Warranty, a New Jersey corporation,

                                    Defendant.


-------------------------------------------------------------------X
     NOTICE OF MOTION ON CONSENT TO ADJUST DEPOSITION SCHEDULE

         PLEASE TAKE NOTICE that on Thursday October 18, 2018 at 11:00 a.m., or as soon

thereafter as counsel may be heard, the undersigned shall appear before the Honorable Young B.

Kim or any judge sitting in his stead in Courtroom 1019 of the United States District Court for

the Northern District of Illinois, 219 S. Dearborn Street, Chicago, Illinois and present

Defendant’s Motion on Consent to Adjust the Deposition Schedule, allowing the deposition of

Defendant’s corporate representative to be rescheduled from October 24, 2018 to October 30,

2018.

Dated:     October 12, 2018                          Respectfully submitted,

                                                     By: /s/ Andrew J. Urgenson
                                                            Andrew J. Urgenson (pro hac vice)
                                                            OVED & OVED LLP
                                                            401 Greenwich Street
                                                            New York, NY 10013
                                                            Tel. 212.226.2376

                                                              Attorneys for Defendant CHW Group, Inc.
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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on October 12, 2018, I electronically filed the foregoing with

the Clerk of the Court using the CM-EMF system, which will send a Notice of Electronic Filing

to all counsel of record.



                                               /s/ Andrew J. Urgenson
                                               Andrew J. Urgenson
